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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

      UNITED STATES, et al.,

                          Plaintiffs,

           vs.                                                 No: 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                          Defendant.




                 PLAINTIFFS’ OBJECTIONS TO GOOGLE’S WITNESS LIST

          Pursuant to the Court’s Order of June 24, 2024 (ECF No. 871), Plaintiffs, by and through

  undersigned counsel, hereby submit the following objections to Defendant Google LLC’s

  Witness List/Rule 26(a)(3) Disclosures (ECF No. 891), dated July 5, 2024:

          Plaintiffs reserve the right to object to Google calling any witness whose testimony is

  irrelevant, cumulative, or otherwise inadmissible under the Federal Rules of Evidence. 1 Plaintiffs

  further reserve the right to object to Google’s use of any exhibit with any witness on the grounds

  that the witness lacks personal knowledge to testify about the exhibit.

          Plaintiffs also object to Google listing as “may” call “[i]f the need arises” “[a]ny witness

  listed on Plaintiffs’ Witness List/Rule 26(a)(3) Disclosures” on the grounds that Google has

  failed, to date, to comply with the Court’s Order of June 4, 2024 as to every “witness listed on

  Plaintiffs’ Witness List/Rule 26(a)(3) Disclosures.” Having now seen Plaintiffs’ Witness List, to

  the extent Google intends to reserve the right to call any specific witness from Plaintiffs’ Witness


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    Plaintiffs are submitting their objections to Google’s deposition designations in a separate
  filing.

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  List during Google’s case, the Court’s Order of June 4, 2024 requires that Google immediately

  produce any transcripts of depositions of that witness taken in the case against Google pending in

  the U.S. District Court for the Eastern District of Texas.




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  Dated: July 19, 2024



  Respectfully submitted,

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